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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.

 

Winfrey Architectural Concrete, Inc.,
Plaintiff,

vs.

THE UNITED STATES OF AMERICA,

Defendant.

 

COMPLAINT

 

The Plaintiff, Winfrey Architectural Concrete, Inc., by and
through its attorneys, Ted H. Merriam and Kevin A. Planegger of the
Merriam Law Firm, P.C., hereby appeals the Notice of Determination
issued by the Rocky Mountain Appeals Office of the Internal Revenue

Service on August 23, 2006, and alleges as follows:

I. PARTIES, JURISDICTION AND VENUE

 

1. This is an action to appeal the Notice of Determination
Concerning [IRS] Collection Action(s) Under Section 6320 and/or
6330 ("Notice of Determination") issued by the Rocky Mountain
Appeals Office of the Internal Revenue Service on August 23, 2006.
A copy of the Notice of Determination is attached as Exhibit A, and
is incorporated by this reference.

2. The Plaintiff, Winfrey Architectural Concrete, Inc., isa

Colorado corporation; the company has suspended operations but its
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principal place of business had been in Weld County, Colorado,
Since the company was incorporated in 1992.

3. The United States of America is the Defendant ("United
States" or "IRS"), by and through the actions of its agency, the
Internal Revenue Service.

4, This action arises under the Internal Revenue Service
Restructuring and Reform Act of 1998, P.L. 105-206; this Court has
Jurisdiction pursuant to 26 U.S.C. § 6330(d).

5. Venue is proper in this Court pursuant to 28 U.S.C.
§ 1391(e), because Winfrey Architectural Concrete, Inc. is a
resident of this Judicial district, and the Rocky Mountain Appeals
Office of the Internal Revenue Service in Denver, Colorado issued

the subject determination.

IIT. CLAIM FOR RELIEF

6. Due to extraordinary circumstances beyond its control,
Winfrey Architectural Concrete, Inc. became delinquent in Form 941
employment taxes for multiple periods, including the periods ending
December 31, 2002, March 31, 2003, June 30, 2003, September 30,
2003, March 31, 2004, June 30, 2004, September 30, 2004 and
December 31, 2004. Plaintiff also became delinguent in Form 940
unemployment taxes for the 2002, 2003 and 2004 periods. The
employment and unemployment tax liabilities included substantial
penalties and interest.

7. As a result of the company’s failure to timely pay its

employment and unemployment tax liabilities for the specific
 

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periods set forth in the above paragraph, the IRS issued a Final
Notice - Notice of Intent to Levy and Notice of Your Right to a
Hearing (Letter 1058) (“Notice”) on June 3, 2005. The Notice
informed the Plaintiff of the government’s intent to levy under
section 6331 of the Internal Revenue Code.

8. The Notice also informed the Plaintiff that a hearing
could be requested by submitting Form 12153, Request for Collection
Due Process Hearing, within 30 days from the date of the Notice.

9. The Plaintiff filed a timely request for a Collection Due
Process Hearing on June 13, 2005.

10. A Collection Due Process Hearing (“Hearing”) was held on
February 15, 2006.

11. During the period before and after the Collection Due
Process Hearing, the IRS revenue officer assigned to the case
pursued enforced collection with respect to tax delinquencies
(prior periods) not specifically at issue in the Hearing.

12. During the Hearing and in subsequent conversations,
Plaintiff’s representatives and the IRS Appeals Settlement Officer
discussed possible alternatives to enforced collection.

13. The IRS Appeals Settlement Officer initially suggested
that the Plaintiff consider submitting a discharge application for
the equipment that had been sold to another entity. Plaintiff
agreed to consider a discharge application as a way to settle the
case without further enforced collection.

14. As is detailed in the Notice of Determination, the IRS

Appeals Settlement Officer called the revenue officer assigned to
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the case to advise her about the possible discharge application.
In the words of the Appeals Settlement Officer, “[{the revenue
officer] was not real enthusiastic about this action.” (Page 4 of
enclosure to Notice of Determination).

15. After his conversation with the revenue officer, the
Appeals Settlement Officer no longer considered the discharge
application as a possible comprehensive solution to this case.

16. Plaintiff’s proposal to obtain a loan for a significant
partial payment of the outstanding tax liabilities was (as admitted
by the Appeals Settlement Officer) “killed” by the revenue
officer’s continued enforced collection for periods not at issue in
the Hearing. (Page 5 of enclosure to Notice of Determination).

17. The Appeals Settlement Officer was not impartial in this
case and failed to provide a fair hearing as required by section
6330 of the Internal Revenue Code. Instead, collection proposals
and decisions were dictated by the IRS revenue officer assigned to
the case.

18. Section 6330 of the Internal Revenue Code directs the
Appeals Settlement Officer to balance “the need for the efficient
collection of taxes with the legitimate concern of the taxpayer
that any collection action is no more intrusive than necessary.”
The IRS Appeals Officer abused his discretion by ceding authority
over the case to the IRS revenue officer, and thereby sustaining
the proposed levy action in this case.

19. The Notice of Determination is statutorily defective in

that it does not provide a complete explanation of, or
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justification for, the Appeals Settlement Officer’s decision to

proceed with the most intrusive collection action.

IIIT. PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that:

A. The Court find that the Appeals Settlement Officer was not
impartial and did not conduct a fair hearing, and remand the case
for another Collection Due Process Hearing;

B. The Court find that the Appeals Settlement Officer abused
his discretion by sustaining enforced collection action against the
Plaintiff;

Cc. The Court determine that less intrusive methods of
collection are available; and

D. The Court grant such other and further relief as the Court

deems just and proper.
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DATED: September 22,

Address of Plaintiff

Respectfully submitted,

S/Ted H, Merriam

Ted H. Merriam

S/Kevin A. Planegger
Kevin A. Planegger

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